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                               EXHIBIT 11
                              Case 2:20-cv-17785-EP-LDW Document 78-13 Filed 05/11/23 Page 2 of 2 PageID: 2021
                                                                                            Exhibit 11
                                                                   Excerpt of TimeStation Records for Week Ending July 8, 2018



Employee                                Department                                           Mon 07/02 Tue 07/03 Wed 07/04       Thu 07/05 Fri 07/06 Sat 07/07 Sun 07/08 Total Hours Hourly Rate Total Pay
Elydania Valdez                         Office                                               9:00      9:00      4:40            8:58      8:50      0:00      0:00      40:28       13.00       526.11
Emanuel Francisco                       Bell Audi                                            0:00      10:43     0:00            9:27      0:00      0:00      0:00      20:10       16.00       322.72
Emmanuelle Minaya Rosa                  Fette Prep Center                                    9:54      9:50      5:15            10:20     10:19     6:42      0:00      52:20       9.00        470.97
Enrique Antonio Rojas Rodriguez         Holman Infiniti, Ford & Lincoln                      12:15     11:51     5:06            12:08     8:37      11:08     0:00      61:05
Enrique Coreas - Valet                  Manhattan Jeep Chrysler and Dodge- Valet             3:05      3:00      0:00            4:06      2:26      8:07      0:00      20:44       16.00       331.68
Enrique Manuel Villalobos - Valet       Land Rover / Jaguar Huntington                       9:22      10:13     0:00            0:00      8:07      8:40      0:00      36:22       10.00       363.80
Erick Troncoso                          Floaters                                             7:21      0:00      0:00            7:15      8:25      0:00      0:00      23:01       10.00       230.20
Ernesto Hernandez                       Mahwah Honda                                         0:00      0:00      0:00            0:00      0:00      9:45      0:00      9:45        10.00       97.50
Ernesto Sam Maquin                      Prestige Toyota-NY/Hyundai                           11:44     10:11     0:00            11:47     10:16     9:06      0:00      53:04       11.00       583.66
Errol Campbell                          DCH Ford Eatontown                                   9:04      9:49      3:59            9:54      8:53      8:12      0:00      49:51       12.00       598.20
Ervin Nazario                           Land Rover Glen Cove                                 10:30     10:27     0:00            10:27     10:28     8:58      0:00      50:50       10.00       508.40
Esau De Jesus Alvarado Alegria          BMW of Bloomfield/Shop                               2:26      9:57      0:00            10:54     11:03     10:29     0:00      44:49       12.00       537.72
Esmerlin Perez Popoter                  Mercedes-Benz of Orange County                       10:48     10:21     0:00            8:00      10:42     9:01      0:00      48:52       9.50        464.27
Estanislao Pierrot                      BRAM - Warehouse (Drivers)                           10:52     12:38     0:00            12:20     11:39     5:42      0:00      53:11       11.50       611.57
Esteban Fierro                          Gateway Toyota                                       12:51     12:15     9:18            12:26     12:12     10:11     0:00      69:13       10.50       726.71
Eulalee Campbell                        Office                                               3:50      4:32      0:00            0:00      0:00      0:00      0:00      8:22        12.00       100.32
Euripides Rodriguez                     BRAM - Warehouse (Drivers)                           11:19     11:50     0:00            10:03     12:29     6:17      0:00      51:58       10.00       519.60
Ever Gutierrez                          BMW of Bridgeport                                    11:19     11:30     0:00            10:22     10:24     11:14     0:00      54:49       11.50       630.43
Ever Rivera - Assistant Manager         Land Rover / Jaguar Huntington                       11:04     10:47     0:00            11:01     10:58     9:56      0:00      53:46       17.50       940.98
Eymond A. Feliz                         BRAM - Warehouse (Drivers)                           0:00      12:43     0:00            0:00      0:00      0:00      0:00      12:43
Ezequiel Chavez                         Lexus of Manhattan Detailer                          11:31     10:34     0:00            10:16     11:30     8:35      0:00      52:26       10.00       524.40
Fabio Nelson Cortes                     White Plains Honda                                   11:57     12:14     0:00            12:28     11:07     8:47      0:00      56:33       9.50        537.23
Fabio Rodriguez                         Bay Ridge Honda                                      11:17     11:00     0:00            10:01     10:05     8:26      0:00      50:49       9.00        457.29
Fausto Jose Martinez                    Bay Ridge Audi Prep Center                           11:06     10:16     0:00            9:59      10:24     9:19      0:00      51:04       11.50       587.31
Felipe Contreras                        BRAM - Warehouse (Drivers)                           10:47     12:36     0:00            9:18      13:18     5:46      0:00      51:45       13.00       672.75
Fernando Rodriguez                      Mercedes-Benz Benzel Busch                           10:02     10:01     0:00            10:01     10:01     9:02      0:00      49:07       10.66       523.62
Francis Alberto Rojas                   Manheim (Skyline)                                    10:14     8:20      0:00            9:31      9:30      5:27      0:00      43:02       14.00       602.42
Francisco A. Marte                      BRAM - Warehouse (Drivers)                           11:19     11:50     0:00            10:03     12:28     6:09      0:00      51:49       11.00       570.02
Francisco A. Pena                       DCH Brunswick Toyota                                 9:55      7:18      9:14            12:00     9:00      9:01      0:00      56:28       11.00       621.17
Francisco Alejandro Smith Uniera        Mercedes-Benz of Caldwell                            10:00     9:38      0:00            9:57      8:01      9:16      0:00      46:52       11.00       515.57
Francisco Pantaleon                     Bay Ridge Honda                                      13:01     12:58     0:00            13:01     12:05     12:04     8:41      71:50       13.50       969.84
Franklin Mercedes                       Mahwah Chrysler Dodge/Jeep                           0:00      0:00      0:00            8:13      0:00      0:00      0:00      8:13        12.00       98.64
Franklyn Decena                         BRAM - Warehouse                                     0:00      11:04     0:00            12:01     10:02     5:45      0:00      38:52       11.00       427.57
Gabriel A. Nova                         Hudson Toyota                                        12:13     6:35      12:51           10:25     11:42     11:35     0:00      65:21       9.00        588.15
Gabriel Rodriguez                       Rallye BMW                                           10:28     10:36     5:34            11:17     10:22     8:37      0:00      56:54       10.50       597.56
Ganesh Dalchan                          Mercedes-Benz Manhattan (North Bergen)               9:47      10:24     0:00            10:09     9:55      0:00      0:00      40:15       10.00       402.50
Genaro Arier Fabian Moran               Mercedes-Benz of Brooklyn                            12:04     12:10     0:00            11:30     11:20     9:29      0:00      56:33       9.50        537.23
Genaro Jimenez                          Route 23 Honda                                       8:19      7:27      7:16            8:52      9:38      8:44      0:00      50:16       12.50       628.38
Gerson Antonio Quintanilla              DCH Ford Eatontown                                   14:12     13:54     6:05            13:47     12:46     11:29     0:00      72:13       10.00       722.10
Gerson Vasquez - Car Washer/Detailer    Queens Volkswagen                                    12:41     10:19     0:00            10:08     9:40      10:43     0:00      53:31       10.00       535.20
Gileno Moura                            Mercedes-Benz Manhattan                              11:25     11:13     0:00            11:11     9:14      0:00      0:00      43:03       13.00       559.52
Giovanni Morales - Car Wash             Mercedes-Benz of Brooklyn                            12:28     9:45      0:00            12:10     11:02     10:11     0:00      55:36       13.00       722.80
Gregorio Castro                         Mercedes-Benz Manhattan                              9:52      9:49      0:00            8:12      9:36      0:00      0:00      37:29       10.00       374.90
Guillermo Sierra                        Madison Honda                                        0:00      0:00      0:00            0:00      13:11     11:23     0:00      24:34       11.00       270.16
Harold Huff                             Circle BMW                                           0:00      9:50      0:00            9:57      9:50      6:55      0:00      36:32       9.50        347.04
Harold Josue Eusebio                    Metro Honda                                          0:00      1:49      11:21           11:02     12:12     12:08     0:00      48:32       11.50       558.10
Heriberto Morales                       DCH Brunswick Toyota                                 6:07      9:25      6:03            9:31      9:58      8:02      0:00      49:06       12.00       589.32
Hernan Campos                           Lexus of Route 10                                    0:00      11:30     4:58            11:30     11:36     10:01     0:00      49:35       15.00       743.85
Horacio Elmer Ortiz Torres              Joe Heidt Motors                                     13:00     11:40     0:00            10:12     10:05     0:00      0:00      44:57       10.00       449.50
Hugo Martinez                           BMW of Bloomfield/Shop                               9:44      10:03     0:00            9:21      9:37      9:40      0:00      48:25       10.00       484.20
I-God Riley                             Circle BMW                                           10:53     9:41      0:00            9:59      9:44      6:06      0:00      46:23       9.50        440.52
Ignacio Gonzalez Pena                   Hudson Toyota                                        15:58     15:43     12:51           15:36     23:52     13:45     0:00      97:45       10.00       977.60
Ignacio Monterroso                      BMW Service Center                                   10:19     10:19     0:00            10:21     10:00     8:00      0:00      48:59       10.00       489.90
Isaac Morales Barranco                  Gateway Toyota                                       12:51     12:14     9:16            12:26     12:11     10:10     0:00      69:08       10.00       691.30
Isael Cueto                             BRAM - Warehouse                                     10:00     10:00     0:00            10:00     9:58      6:15      0:00      46:13       10.50       485.31
Israel Morales - Valet Manager          Mercedes-Benz of Brooklyn Valet                      7:40      8:13      0:00            9:23      0:00      6:55      0:00      32:11       20.00       643.80
Ivan Matos                              Mercedes-Benz Benzel Busch                           9:54      9:51      0:00            10:04     9:54      8:59      0:00      48:42       10.00       487.00




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